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                          UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


ANGELIINA LYNN LAWSON,
Plaintiff and Next Friend ofD.L., a Minor,

V.
KANSAS DEPARTMENT FOR CHILDREN
AND FAMILIES, et al.,

Defendants.

                                                              Case No. 2:25-cv-02171-JWB-TJJ

                                                                       JURY TRIAL DEMAND

      NOTICE REGARDING DEFENDANTS' NONCOMPLIANCE WITH
                     LAWFUL SUBPOENAS

COMES NOW the Plaintiff, Angeliina Lynn Lawson, appearing pro se and as next friend of
D.L., a minor. Plaintiff respectfully asks this Court to take notice of a troubling pattern of
conduct by the Kansas Department for Children and Families. Rather than engage the judicial
process in good faith, Defendant have chosen to ignore lawful subpoenas, evade discovery
obligations, refuse to resolve disputes informally, and now seek to stall this case despite the
Court's clear intent to proceed under Rule 16. This pattern shows not merely disagreement with
Plaintiff's claims, but disregard for this Court's authority to manage its own docket. Plaintiff
requests that the Court protect its processes and signal that judicial orders must be taken
seriously as we prepare for the discovery stage.

BACKGROUND:

     1. On April 4, 2025, Plaintiff issued lawful subpoenas for LV2025-CV-70 jury trial (now in
        appeal court) documents and records to the Kansas Department for Children and Families
        ("KDCF') pursuant to Fed. R. Civ. P. 45. These subpoenas requested time-sensitive
        disclosures related to known abuse disclosures, DCF investigations, and communications
        that form the core of Plaintiff's claims. (54. ~\:,\~ Pt--)
     2. As of the date of this filing, KDCF has failed to respond, object, or otherwise
        acknowledge these subpoenas. No extension was requested, no motion to quash was
        filed, and no communication was provided to Plaintiff.
     3. This non-response constitutes a disregard of a lawful court process and undermines the
        due process rights of both Plaintiff and the minor child at the center of this action.
        Federal Rule of Civil Procedure 45(e) makes clear that failure to comply with a
        subpoena, without adequate excuse, may be deemed contempt of court.
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   4. The refusal to even acknowledge the subpoenas demonstrates a troubling posture of
      noncompliance and resistance to judicial oversight, which exacerbates the constitutional
      harms already alleged in this matter.
   5. Plaintiff respectfully brings this issue to the Court's attention for appropriate
      consideration in managing discovery and enforcing compliance with federal procedural
      obligations.

WHEREFORE, Plaintiff submits this Notice to preserve the record of past subpoena
noncompliance and to request that the Court take notice of Defendants' disregard for lawful
discovery obligations under Rule 45 as the court prepares for the discovery stage.

                                                           Dated: July 3, 2025




AngeliinaM'nn..La:WS<m-.
1914 5th Avenue
Leavenworth, KS 66048
AngeliinaLawson@gmail.com
(913) 972-1661
Pro Se Plaintiff and Next Friend of D.L., a minor

                               CERTIFICATE OF SERVICE

I hereby certify that on this 3rd day of July, 2025, a true and correct copy of the
foregoing was filed with the Clerk of the Court using the CM/ECF system, which
will send electronic notice to the following counsel of record and count as service to
the following:



Bradley E. Avery
Assistant Attorney General
Memorial Building, 2nd Floor
120 SW 10th Avenue, Topeka, KS 66612
Email: brad.avery@ag.ks.gov


Marc Altenbernt
General Counsel, Kansas Department for Children and Families
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555 S. Kansas Avenue, 6th Floor, Topeka, KS 66603
Email: marc.altenbemt@ks.gov




Angeliina L   ~-s..aiu.




Plaintiff and Next Friend of D.L., a Minor
1914 5th Ave, Leavenworth, KS 66048
angeliinacourtrecords@gmail.com
(913) 972-1661
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                             IN THE FIRST JUDICIAL DISTRICT

                  DISTRICT COURT OF LEAVENWORTH COUNTY, KANSAS
                              CIVIL COURT DEPARTMENT

                                                                     Case No.: LV202SCV70

 Plaintiff: ANGELIINA LYNN LAWSON

 Defendant: JONATHAN LAWSON


 SUBPOENA FOR PRODUCTION OF DOCUMENTS ONLY (K.S.A. 60-245)


 TO: Heather Dum, Amanda Miranda,.AND Kansas Depanment for Children and Families


 YOU ARE COMMANDED to produce the following documents, electronically stored
 information, or tangible things at the place, date, and time below:


All reoords, reports. notes, billlng statements, audio/video recordjngs. communications,
emails. meeting logs, and electronically stored information related to the parties in the
above-captioned case, including custody, therapy, ADA accommodations, service provision,
or investigations. Produce to the Clerk of the Court at the address listed below within
twenty-one (21) days of service.


Delivery Address:
Leavenworth County District Court
601 S 3rd St Suite 3051
Leavenworth, KS 66048

Date Due: Within 21 days of receipt of this subpoena



The following provisions of K.S.A. 60-245 are attached: K.S.A. 60-245(c), relating to your
protection as a person subject to a subpoena and the place of compliance: and IC.SA 60-
24S(d) and (e), relating to your duty to respond to this subpoena and the potential
consequences of not doing so.

Notice was given to parties before this subpoena was served. KS.A 60-245(b)




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   Date Issued: April 04, 2025
   Signature of Cerk or Deputy Clerk:


   Seal:




   1914SthAve
   Leavenworth, KS 66048

   Email: AngeliinaCourtRecords@gmail.com
   Phone: (913} 972-1661




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                            IN THE FIRST JUDICIAL DISTRICT
                DISTRICT COURT OF LEAVENWORTH COUNTY, KANSAS

      CIVIL COURT DEPARTMENT

      Case No.: LV202SCV70

      Plaintiff: ANGELIINA LYNN LAWSON
      Defendant: JONATHAN LAWSON

      CERTIFICATE OF SERVICE

       I hereby certify that on the date listed below, a true and correct copy of the
       foregoing document tided "SUBPOENA FOR PRODUCTION OF
       DOCUMENTS ONLY" was served upon the following parties by:

       [ X] Certified Mail with Return Receipt

      Served to:
      Name: Kansas Department for Children and Families, Amanda Miranda
      and Heather Dunz
      Address: SSS S. Kansas Avenue, Topeka, KS 66603




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